Case 1:24-cv-03880-LDH-LKE Document 8-10 Filed 06/19/24 Page 1 of 3 PageID #: 282




           EXHIBIT # 9
 Case 1:24-cv-03880-LDH-LKE Document 8-10 Filed 06/19/24 Page 2 of 3 PageID #: 283


  From: Tyrone Blackburn tblackburn@tablackburnlaw.com
Subject: Re: Moyle, et al. v. UPS. 503187/2024
   Date: June 14, 2024 at 1:35 PM
     To: Lajewski, Leslie A. leslie.lajewski@ogletree.com
    Cc: Laura Watanabe LWatanabe@welgpllc.com

       Hi, Leslie and Laura,

       I believe your clients have all been served with the state court Complaints. The time to appear has passed. I am unsure if you are still
       representing these clients, but I wanted to give you a courtesy heads-up before I file a motion for default.

       Regards,

       Tyrone A. Blackburn, Esq.
       T. A. Blackburn Law, PLLC.
       Phone: 347-342-7432
       TABlackburnlaw.com

         On Feb 21, 2024, at 6:52 PM, Lajewski, Leslie A. <leslie.lajewski@ogletree.com> wrote:

         Good evening Tyrone,

         I wanted to let you know that Ogletree is not authorized to accept service of the
         attached Complaint. You will need to serve it on UPS through their New York state
         agent.

         Regards,

         Leslie

         Leslie A. Lajewski | Ogletree Deakins
         10 Madison Avenue, Suite 400 | Morristown, NJ 07960 | Telephone: 973-630-2322
         leslie.lajewski@ogletree.com | www.ogletree.com | Bio


         From: Tyrone Blackburn <tblackburn@tablackburnlaw.com>
         Sent: Monday, February 12, 2024 1:29 PM
         To: Lajewski, Leslie A. <leslie.lajewski@ogletreedeakins.com>; Laura Watanabe
         <LWatanabe@welgpllc.com>
         Subject: Moyle, et al. v. UPS. 503187/2024

         [Caution: Email received from external source]

         Good afternoon Lisa,

         Wanted to inform you that the UPS class case has been filed in Kings County Court. The
         case is attached here. Will your client waive service of process?

         FYI, cases for Fari Murray, Danny Moyle, and Roy Welch were filed as well. I will send
         you those pleadings under a different email as they have different case numbers. Tyler
         Lilly and Travis Steele will both be filed this week as they are reviewing the pleadings.

         I am submitting Pro Hac applications for Kevin Mahoney, Rodney Diggs, and their
         colleagues.

         Regards,
Case 1:24-cv-03880-LDH-LKE Document 8-10 Filed 06/19/24 Page 3 of 3 PageID #: 284

     Regards,

     Tyrone A. Blackburn, Esq.
     T. A. Blackburn Law, PLLC.
     Phone: 347-342-7432
     TABlackburnlaw.com
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     <Filed Complaint-Moyel et al., v. Ups, 503187_2024.pdf>
